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Plaintiff,
v_ No. 04~2399 B
JESSE POWELL,

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION
FOR COURT APPOINTED ATTORNEY

 

Before the Court is the June 20, 2005 motion for a court appointed attorney filed by the w
g Defendant, J esse Powell. However, the Defendant's filing is not in compliance With the Local
Rules ofthis district. The Local Rules provide that motions must be accompanied by a certificate
of consultation “at`firming that, after consultation between the parties to the controversy, they are
unable to reach an accord as to all issues or that all other parties are in agreement With the action
requested by the motion.“ LR”/'.Z(a)( l )(B), Local Rules ofthe U.S. Dist. Ct. for the W. Dist. ofTenn.
(“Local Rules"). The certificate of consultation

must contain the names of participating counsel and the date and manner of

consultation The burden Will be on counsel filing the motion to initiate the

conference upon giving reasonable notice of the time, place and specific nature of the

conference If an opposing counsel or party refuses to cooperate in the conduct of a

conference, counsel must file a certificate to that effect, setting out counsel's efforts

to comply With this rule.
LR?.Z(a)(l)(B), Local Rules. In this case, there is no indication that Defendant conferred with

opposing counsel on the matter Which is the subject of the filing or that he made any attempt to do

so. “F ailure to file an accompanying certificate of consultation may be deemed good grounds for

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with sole 55 and/or 79(3) FacP on “ gaf f .» 05 @

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denying the motion.“ LR7.2(a)(l)(B), Local Rules.

Additionally, as the Court stated in its order denying Defendant’s first request for a court
appointed attorney, there is no right to appointed counsel in a civil case. E Abdur-Rahman v.
l\/lichigan Dep_’t of Corr., 65 F.Bd 489, 492 (6th Cir. 1995) (finding that a district court did not err
in denying a party’s request for a court appointed attorney because he has no such constitutional right
in a civil case). However, the Court may in exceptional circumstances request an attorney to serve
as counsel in a civil case for an indigent party, in the Court’ s discretion Washington v. Simon, No.
izOS-CV-l79, 2005 WL 1309142, at *4 (W.D. Mich. June l, 2005) (citing Abdur-Rahman, 65 F.3d
at 492; Lavado v. Keohane, 992 F.Qd 601, 604-05 (6th Cir. 1993); Mallard v. United States District
Court for the Southern District oflovva, 490 U.S. 296, 109 S.Ct. 1814, 104 L.Ed.Zd 318 (1989)).
The Defendant has again not cited to any exceptional circumstances which would Warrant
appointment of counsel.

For the foregoing reasons, Plaintiff`s motion for appointment ofcounsel is hereby DENIED.

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r D srA'rEs DisrRicr JUDGE

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 26 in
case 2:04-CV-02399 Was distributed by f`aX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

